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Case: 4:16

IN THE COURT OF COMMON PLEAS

MAHONING COUNTY, OHIO
STATE OF OHIO )  CASENO.: 16 cR 342
)
PLAINTIFF )
)
VS. ) AFFIDAVIT oF
J THOMAS E. ZENA
KALILO ROBINSON }
)
DEFENDANT )
)

EXHIBIT

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No. 2195 Pp 3/3

Attorney At Law

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